                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 TERESA Y. WALTON,                                  CIVIL COMPLAINT

 Plaintiff,
                                                    CASE NO. 2:19-cv-00343
 v.

 EDWARD SLOAN AND ASSOCIATES, INC.,                 DEMAND FOR JURY TRIAL

 Defendant.


                                         COMPLAINT

        NOW COMES Teresa Y. Walton (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining of Edward Sloan and Associates, Inc. (“Defendant”)

as follows:

                                    NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for violations of the Fair Debt Collection

Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692, violations of the Telephone Consumer

Protection Act (“TCPA”) pursuant to 47 U.S.C. §227, and violations of the Texas Debt Collection

Act (“TDCA”) pursuant to Tex. Fin. Code Ann. §392 for Defendant’s unlawful conduct.

                                    JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by the FDCPA, TCPA, and 28

U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.

      3. The Court has supplemental jurisdiction over the state law TDCA claim under 28 U.S.C.

§1367.




                                                1
      4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Eastern District of Texas, and a substantial portion of the events or omissions giving rise to

the claims occurred within the Eastern District of Texas.

                                                  PARTIES

      5. Plaintiff is a natural person over 18-years-of-age and is a “consumer” as the term is defined

by 15 U.S.C §1692a(3), and is a “person” as defined by 47 U.S.C. §153(39).

      6. Defendant is a corporation with its principal place of business located at 368 Private Road

8565, Winnsboro, Texas 75494. Defendant engages in collection activities in the state of Texas.

Defendant promotes itself as specializing in debt collection. Defendant’s goal is to “recover your

debt and maintain a working relationship with your debtor.”1

      7. Defendant is a collection agency with the primary purpose of collecting or attempting to

collect consumer debts owed or allegedly owed to others. Defendant is engaged in the business of

collecting or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted

to be owed or due to others using the mail and/or telephone, including consumers in the State of

Texas.

                                 FACTS SUPPORTING CAUSES OF ACTION

      8. Prior to the events giving rise to this cause of action, Plaintiff’s husband received medical

treatment resulting in an outstanding balance (“subject debt”).

      9. Sometime thereafter, Plaintiff’s husband could not keep up with payments and defaulted

on the subject debt.

      10. Subsequently, Defendant acquired the right to collect on the subject debt.




1
    http://www.esacollections.com/ (last visited 10/18/2019).

                                                      2
    11. In or around 2017, Defendant began placing collection calls to Plaintiff’s cellular telephone

number (903) XXX-3220, in an attempt to collect on the allegedly defaulted subject debt.

    12. Plaintiff was the sole subscriber, owner, possessor, and operator of the cellular telephone

ending in 3220.

    13. Plaintiff never provided her telephone number to Defendant or otherwise expressly

consented to Defendant’s phone calls.2

    14. At not time did Plaintiff owe the subject debt

    15. On multiple occasion, Plaintiff answered phone calls from Defendant and demanded it

cease calling her cellular phone number and provided her husband’s phone number.

    16. Plaintiff’s demands that Defendant’s phone calls cease fell on deaf ears and Defendant

continued its phone harassment campaign, calling Plaintiff’s cellular phone number.

    17. In total, Defendant placed or caused to be placed hundreds of harassing phone calls to

Plaintiff’s cellular telephone from 2017 through the present day, with calls taking place on back-

to-back days, multiple calls in one day, and on weekends.

    18. In the calls that Plaintiff did answer, Plaintiff was greeted by a noticeable period of “dead

air” while Defendant’s automated telephone system attempted to connect Plaintiff to a live agent.

    19. Specifically, there would be an approximate 2 second pause between the time Plaintiff said

“hello,” and the time that a live agent introduced them self as a representative of Defendant.

    20. Moreover, Plaintiff also hears what sounds to be call center noise in the background of

Defendant’s calls.




2
 Upon information and belief, Defendant obtained Plaintiff’s telephone number through a method known
as “skip-tracing,” whereby debt collectors obtain phone numbers by conducting inquiries upon consumer
credit reports or other public record searches.

                                                  3
   21. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone

using an automated telephone dialing system, a telephone dialing system that is commonly used

in the debt collection industry to collect defaulted debts.

   22. Defendant has used numerous phone numbers to place collection calls to Plaintiff’s cellular

phone number, including but not limited to (903) 347-6118, (903) 347-6109, (903) 347-6098,

(903) 347-6083, (903) 347-6078, (903) 347-6101, (903) 347-6081, (903) 347-6084, (903) 347-

6093, (903) 347-6080, (903) 347-6116, (903) 347-6104, (903) 347-6110, (903) 347-6077, (903)

347-6102, (903) 347-6088, (903) 347-6097, (903) 347-6103, (903) 342-7167, (903) 342-7178,

(903) 342-7173, (903) 342-7155, (903) 342-7162, (903) 342-7156, (903) 342-7163, (903) 342-

7172, (903) 342-7165, (903) 342-7153, (903) 342-7153, (903) 342-7162, (903) 342-7162, and

(903) 342-7172.

   23. Upon information and belief, it may have used other phone numbers to place calls to

Plaintiff’s cellular phone.

                                               DAMAGES

   24. Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily life and general

well-being.

   25. Defendant’s phone harassment campaign and illegal collection activities have caused

Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon

and occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, the increased

risk of personal injury resulting from the distraction caused by the incessant phone calls,

aggravation that accompanies unsolicited telephone calls, emotional distress, mental anguish,

anxiety, loss of concentration, diminished value and utility of telephone equipment and telephone




                                                  4
subscription services, the loss of battery charge, and the per-kilowatt electricity costs required to

recharge her cellular telephone as a result of increased usage of her telephone services.

   26. In addition, each time Defendant placed a telephone call to Plaintiff, Defendant occupied

Plaintiff’s telephone number such that Plaintiff was unable to receive other phone calls.

   27. Concerned about the violations of her rights and invasion of her privacy, Plaintiff was

forced to seek the assistance of counsel to file this action to compel Defendant to cease its unlawful

conduct.

           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   28. Plaintiff restates and realleges paragraphs 1 through 27 as though fully set forth herein.

   29. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   30. Defendant is a “debt collector” as defined by §1692a(6) because its primary business is the

collection of delinquent debts and it regularly collects debts and uses the mail and/or the telephones

to collect delinquent accounts allegedly owed to a third party.

   31. Moreover, Defendant is a “debt collector” because it acquired rights to the subject debt

after it was in default. 15 U.S.C. §1692a(6).

   32. The debt in which Defendant attempting to collect upon is a “debt” as defined by FDCPA

§1692a(5) as it arises out of a transaction due or asserted to be owed or due to another for personal,

family, or household purposes.

   33. Defendant used the phone to attempt to collect the subject debt and, as such, engaged in

“communications” as defined in FDCPA §1692a(2).

   34. Defendant’s communications to Plaintiff were made in connection with the collection of

the subject debt.




                                                  5
   35. Defendant violated 15 U.S.C. §§1692b, c(a)(1), c(b), d, d(5), e, f, and f(1) through its

unlawful debt collection practices on a debt that never belonged to Plaintiff.

       a. Violations of FDCPA § 1692b

   36. Defendant violated §1692b(2), when it continued to place phone calls to Plaintiff’s cellular

phone in effort to collect a debt that did not belong to Plaintiff, after Plaintiff provided her

husband’s telephone number. Defendant continued its collection campaign, attempting to coerce

Plaintiff into paying the subject debt.

       b. Violations of FDCPA § 1692c

   37. Defendant violated §1692c(a)(1) when it continuously called Plaintiff after being notified

to stop. This repeated behavior of continuously and systematically calling Plaintiff’s cellular phone

over and over after she demanded that it cease contacting her was harassing and abusive. Even

after being told to stop contacting her, Defendant continued its onslaught of phone calls with the

specific goal of oppressing and abusing Plaintiff into making a payment on the subject debt.

   38. Furthermore, the enormous volume of calls shows that Defendant willfully ignored

Plaintiff’s pleas with the goal of annoying and harassing her into submission.

   39. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient, unwanted, and distressing to her.

   40. Defendant violated §1692c(b) when it knowingly continued to contact Plaintiff’s cellular

phone number regarding the subject debt, after Plaintiff provided her husband’s cellular phone

number.

       c. Violations of FDCPA § 1692d

   41. Defendant violated §1692d by engaging in abusive, harassing, and oppressive conduct by

relentlessly calling Plaintiff’s cellular phone seeking immediate payment on the subject debt.



                                                 6
Moreover, Defendant continued placing the relentless calls after Plaintiff put Defendant on notice

that its calls were not welcome on numerous occasions.

    42. Defendant violated §1692d(5) by causing Plaintiff’s cellular phone to ring repeatedly and

continuously in an attempt to engage Plaintiff in conversations regarding the collection of the

subject debt with the intent to annoy, abuse, or harass Plaintiff. Furthermore, Defendant continued

to place these calls after Plaintiff informed Defendant its calls were no longer welcome and that

she did not have any obligation to pay the subject debt. Specifically, Defendant placed or caused

to be placed hundreds of harassing phone calls to Plaintiff’s cellular telephone from 2017 through

the present day, using an ATDS without her prior consent, with calls taking place on back to back

days and multiple times in one day.

        d. Violation of FDCPA § 1692e

    43. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt from Plaintiff. Defendant repeatedly contacted the wrong party

seeking to collect upon a debt not owed by Plaintiff. Even after being apprised of its unlawful acts,

Defendant continued its harassing behavior by calling Plaintiff hundreds of times in a deceptive

attempt to force her to answer its calls and ultimately make a payment, even though the subject

debt did not belong to her. Through its conduct, Defendant misleadingly represented to Plaintiff

that it had the legal ability to contact her via an ATDS when it never had prior consent to do so in

the first place.

        e. Violations of FDCPA § 1692f

    44. Defendant violated §1692f and f(1) when it unfairly and unconscionably attempted to

collect on a debt by continuously calling Plaintiff after Plaintiff requested that the calls stop. By

placing voluminous phone calls after becoming privy to the fact that its collection calls were not



                                                 7
welcome is unfair and unconscionable behavior. These means employed by Defendant only served

to worry and confuse Plaintiff.

   45. As an experienced debt collector, Defendant knew or should have known the ramifications

of collecting on a debt through incessant harassing phone calls to the phones of consumers that do

not legally owe such debt.

   46. Upon information and belief, Defendant systematically attempts to collect debts through

harassing conduct and has no procedures in place to assure compliance with the FDCPA.

   47. As stated above, Plaintiff was severely harmed by Defendant’s conduct.

WHEREFORE, Plaintiff TERESA Y. WALTON respectfully requests that this Honorable Court:
    a. Declare that the practices complained of herein are unlawful and violate the
           aforementioned statute;
       b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial,
           for the underlying FDCPA violations;
       c. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
           §1692k; and
       d. Award any other relief as the Honorable Court deems just and proper.

         COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   48. Plaintiff restates and realleges paragraphs 1 through 47 as though fully set forth herein.

   49. Defendant placed or caused to be placed non-emergency calls, including but not limited to

the calls referenced above, to Plaintiff’s cellular telephone using an automatic telephone dialing

system (“ATDS”) without her prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

   50. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator; and to dial such

numbers.” 47 U.S.C. §227(a)(1).




                                                8
   51. Upon information and belief, based on the lack of prompt human response during the phone

calls in which Plaintiff answered, Defendant used an automated dialing system to place calls to

Plaintiff’s cellular telephone.

   52. Upon information and belief, the ATDS employed by Defendant transfers the call to a live

agent once a human voice is detected, thus resulting in a pause after the called party speaks into

the phone.

   53. Any prior consent, if any, was revoked by Plaintiff’s verbal revocation.

   54. Defendant violated the TCPA by placing hundreds of phone calls to Plaintiff’s cellular

telephone from 2017 through the present day, using an ATDS without her prior consent.

   55. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to her cellular

phone.

   56. Upon information and belief, Defendant has no system in place to document and archive

whether it has consent to contact consumers on their cellular phones.

   57. Upon information and belief, Defendant knew its collection practices were in violation of

the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.

   58. Upon information and belief, Defendant’s phone system stores telephone numbers to be

called, using a random or sequential number generator, which it used to call Plaintiff on his cellular

phone.

   59. Defendant violated the TCPA by placing hundreds of phone calls to Plaintiff’s cellular

telephone between September 2017 and the present day, using an ATDS without her prior consent.

   60. The calls placed by Defendant to Plaintiff were regarding business activities and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).




                                                  9
   61. Defendant, through its agents, representatives, subsidiaries, and/or employees acting

within the scope of their authority acted intentionally in violation of 47 U.S.C. §227(b)(1)(A)(iii).

   62. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

$500 per call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and knowing

violations of the TCPA should trigger this Honorable Court’s ability to triple the damages to which

Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff, TERESA Y. WALTON, respectfully requests that this Honorable
Court enter judgment in her favor as follows:

   a. Declare Defendant’s phone calls to Plaintiff to be violations of the TCPA;
   b. Award Plaintiff damages of at least $500 per phone call and treble damages pursuant to 47
       U.S.C. § 227(b)(3)(B)&(C); and
   c. Awarding Plaintiff costs and reasonable attorney fees;
   d. Enjoining Defendant from further contacting Plaintiff; and
   e. Awarding any other relief as this Honorable Court deems just and appropriate.

                 COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   63. Plaintiff restates and realleges paragraphs 1 through 62 as though fully set forth herein.

   64. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   65. Defendant is a “third party collector” as defined by Tex. Fin. Code Ann § 392.001(7).

   66. The subject debt is a “debt” and a “consumer debt” as defined by Tex. Fin. Code Ann. §

392.001(2) as it is an obligation, or alleged obligation, arising from a transaction for personal,

family, or household purposes.

           a. Violations of TDCA § 391.304

   67. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.304(8), states that, “…...a debt collector

may not use fraudulent, deceptive, or misleading representation that employs…..misrepresenting

the character, extent, or amount of the consumer debt…………”

                                                 10
   68. Defendant violated § 392.304(8) when it continued to call Plaintiff’s cellular phone at least

100 times after she notified it to stop calling. The repeated contacts were made with the hope that

Plaintiff would succumb to the harassing behavior and ultimately pay the subject debt. Rather than

contacting Plaintiff’s husband, who is responsible for the subject debt, Defendant continued in its

harassing campaign of phone calls in hopes of extracting payment from Plaintiff.

   69. Upon being told to stop calling and provided Plaintiff’s husband’s phone number,

Defendant had ample reason to be aware that it should not continue its harassing calling campaign.

Yet, Defendant consciously chose to continue placing systematic calls to Plaintiff’s cellular phone

knowing that its conduct was unwelcome.

WHEREFORE, Plaintiff TERESA Y. WALTON respectfully requests that this Honorable Court:

       a. Declare that the practices complained of herein are unlawful and violate the
           aforementioned statute;
       b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);
       c. Award Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);
       d. Award Plaintiff punitive damages, in an amount to be determined at trial, for the
           underlying violations;
       e. Award Plaintiff costs and reasonable attorney fees as provided under Tex. Fin. Code
           Ann. § 392.403(b) ; and
       f. Award any other relief as the Honorable Court deems just and proper.

Plaintiff demands trial by jury.




                                                11
Dated: October 18, 2019        Respectfully Submitted,

                               /s/ Marwan R. Daher
                               /s/ Omar T. Sulaiman
                               Marwan R. Daher, Esq.
                               Omar T. Sulaiman, Esq.
                               Counsel for Plaintiff
                               Sulaiman Law Group, Ltd
                               2500 S Highland Ave, Suite 200
                               Lombard, IL 60148
                               Telephone: (630) 575-8181
                               mdaher@sulaimanlaw.com
                               osulaiman@sulaimanlaw.com




                          12
